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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

UNITED STATES OF AMERICA,                :
                                         :
       Plaintiff,                        :
                                         :
v.                                       :   Case No. 8:05-cr-191-T-30EAJ
                                         :
RAYMOND L. DEVRIES,                      :
                                         :
       Defendant.                        :
                                         :


                            FORFEITURE MONEY JUDGMENT

       THIS CAUSE comes before the Court on motion of the United States of America for

Entry of a Forfeiture Money Judgment (Dkt. #49). For good cause shown, the United

States’ motion is GRANTED.

       The Court, being fully advised in the premises, hereby finds that defendant Raymond

L. Devries obtained funds totaling approximately $98,945.00 USD, and co-defendant Jane

M. Cook obtained funds totaling approximately $18,527.06 USD, as a result of the bank

fraud conspiracy, to which defendant Raymond L. Devries pled guilty as charged in Count

One of the Indictment. Because these funds cannot be located, the United States is

entitled to a forfeiture money judgment pursuant to the provisions of 18 U.S.C. §

982(a)(2)(A) in the full amount of the funds the defendants obtained from the conspiracy.

Accordingly, it is hereby

       ORDERED, ADJUDGED, and DECREED that the United States’ motion is granted.

       It is FURTHER ORDERED that defendant Raymond L. Devries is jointly and

severally liable to the United States of America for a forfeiture money judgment in the
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amount of $117,472.06 USD pursuant to the provisions of 18 U.S.C. 982(a)(2)(A)

and Fed. R. Crim. P. 32.2(b)(2).

         The Court shall retain jurisdiction to enter any orders necessary for the forfeiture and

disposition of any substitute assets, belonging to the defendant, sought by the Government

pursuant to 21 U.S.C. § 853(p) in satisfaction of such money judgment.

         DONE and ORDERED in Tampa, Florida on December 8, 2005.




Copies furnished to:
Anita M. Cream, AUSA
Attorneys of Record


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